Exhibit A
                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

TEXAS LEAGUE OF UNITED LATIN
AMERICAN CITIZENS; NATIONAL
LEAGUE OF UNITED LATIN
AMERICAN CITIZENS; LEAGUE OF
WOMEN VOTERS OF TEXAS; RALPH
EDELBACH; BARBARA MASON;
MEXICAN AMERICAN LEGISLATIVE
CAUCUS; TEXAS HOUSE OF
REPRESENTATIVES; and TEXAS                              Case No.: 1:20-cv-1006
LEGISLATIVE BLACK CAUCUS;

       Plaintiffs,

v.

GREG ABBOTT, in his official capacity as
Governor of the State of Texas; RUTH
HUGHS, in her official capacity as Texas
Secretary of State; DANA DEBEAUVOIR,
in his official capacity as Travis County
Clerk; CHRIS HOLLINS, in his official
capacity as Harris County Clerk; JOHN W.
OLDHAM, in his official capacity as Fort
Bend County Elections Administrator;

       Defendants.

                          THE LINCOLN PROJECT AMICUS BRIEF
                               IN SUPPORT OF PLAINTIFFS


       The Lincoln Project respectfully submits this amicus curiae brief in support of the

Plaintiffs’ request for declaratory and injunctive relief.

                                         INTRODUCTION

       The Lincoln Project is an organization composed of Republicans, former Republicans

and conservatives dedicated to defeating candidates who have abandoned their constitutional

                                              Page 1 of 17
oath, regardless of party. To achieve that purpose, The Lincoln Project has created a broad

coalition of supporters and volunteers across the country. Many of its supporters live in Texas.

The Lincoln Project has put that organization to work contacting, surveying, communicating

with and mobilizing voters. To those ends, The Lincoln Project has invested significant resources

in the State of Texas. The recent order of Governor Greg Abbott on October 1, 2020 (the

“October 1st Proclamation”) threatens to undermine much of the work The Lincoln Project has

engaged in and cause a substantial burden to the voters supporting their mission within Texas.

While the Plaintiffs represent a significantly different interest than The Lincoln Project, the relief

they seek would also provide relief to The Lincoln Project and its supporters in Texas.

                                               ARGUMENT

I.      Background.

        A.       The COVID-19 pandemic.

        The global COVID-19 pandemic affects every aspect of life. As of October 6th, more

than 35,638,000 people have tested positive for COVID-19 worldwide, 1,046,392 1 in the United

States and 794,319 in Texas. 2 The devasting illness has cost 16,437 Texans their lives. 3 The

public health crisis has been declared both a national emergency and a public health disaster by

the State of Texas. The danger of serious illness and death is amplified for older individuals and

becomes particularly worrisome for those over the age of 65. Spread most easily in enclosed

areas with large crowds, the illness presents a particular threat to voters gathering at polling

locations.



1
  Johns Hopkins University of Medicine, COVID-19 Dashboard by the Center for Systems Science and Engineering at
Johns Hopkins, https://coronavirus.jhu.edu/map.html last visited Oct. 6, 2020.
2
  Johns Hopkins University of Medicine, Coronavirus Resource Center, https://coronavirus.jhu.edu/region/us/texas
last visited Oct. 6, 2020.
3
  Id.

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       Due to these realities, states across the country, including Texas expect to see a

substantial increase in vote by mail ballots cast in the November 3, 2020 general election. Vote

by mail ballots, or absentee mail ballots, allow at-risk individuals to avoid potentially life-

threatening circumstances while also exercising their civic duty. Recognizing that reality led

Gov. Abbott to make a proclamation on July 27, 2020 suspending sections of the Texas Election

Code and providing additional flexibility to voters casting ballots. Gov. Abbott’s subsequent

October 1, 2020 proclamation substantially undermines that flexibility and as discussed below,

endangers the lives of The Lincoln Project supporters attempting to cast their ballots.

       B.      Traditional Republican history of expanding voting rights and access to the
               ballot.

       Beginning with the Republican Party’s first president, and The Lincoln Project’s

namesake, the Republican Party historically fought to expand equal rights, including at the ballot

box. In the aftermath of the Civil War, Republicans sponsored and passed three constitutional

amendments during Reconstruction: the Thirteenth Amendment (prohibiting slavery), the

Fourteenth Amendment (barring states from denying equal protection of the laws), and the

Fifteenth Amendment (dictating that the right to vote cold not be denied on the basis of race). A

half century later, Republicans were critical to passing the Nineteenth Amendment (prohibiting

disenfranchisement based on sex).

       Of course, the rights guaranteed by those constitutional provisions still needed to be

vindicated and Republicans traditionally stood at the vanguard. For example, Republicans aided

the effort of future U.S. Supreme Court Justice Thurgood Marshall when he challenged the

Democratic Party’s “white primary” in Texas. Considered by Justice Marshall as the most




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important case he ever argued, 4 Smith v. Allwright 5 centered on the right of an African-American

in Harris County, Texas, to vote.

         It is in that proud tradition that The Lincoln Project have engaged in their efforts to help

register, educate, and inform Texans seeking to cast their ballots. It is in that tradition of

expanding access to the ballot that The Lincoln Project files this amicus curiae brief in support

of Plaintiffs’ prayer for declaratory and injunctive relief.

         C.       The Lincoln Project.

         Founded less a year ago, The Lincoln Project grew swiftly in prominence among

conservatives as it harnessed the sentiments of Republicans and former Republicans disaffected

by the current administration and Congressional enablers. Best known for producing powerful

videos and commercials, The Lincoln Project has supplemented those efforts with a substantial

field operation in targeted states, including Texas.

         Founders of The Lincoln Project have run multiple Republican gubernatorial, senatorial,

and presidential campaigns throughout their careers. Several have longstanding ties to Texas. For

example, founder John Weaver is a native Texan, attended Texas A&M University and helped

lead the campaigns of President George H.W. Bush, Senator John McCain and Governor John

Kaisch. Weaver also worked for several Republican members of Congress from Texas and

served as the executive director for the Republican Party of Texas. Similarly, Reed Galen is a

graduate of the University of Texas and a political strategist who helped guide the campaigns of

President George W. Bush, Senator John McCain and Governor Arnold Swarzenegger. Other




4
  Pamela S. Karlan, Ballots and Bullets: The Exceptional History of the Right to Vote, 71 U. Cin. L. Rev. 1345, 1356 n.
69 (2003) (citing Alexander Keyssar, The Right to Vote: The Contested History of Democracy in the United States
248 (2000)).
5
  Smith v. Allwright, 321 U.S. 649 (1944).

                                                     Page 4 of 17
founders have had equally prestigious careers working as Republican operatives. That experience

has made them experts in reviewing voting patterns, engagement models and turnout strategies.

        The Lincoln Project has put that expertise to work in Texas over the past several months.

Field staff and organizers have developed leadership teams across the state working on various

programs to register voters, educate them on the process of voting, and communicate with those

who support their preferred candidates. As the Dallas Morning News recently reported, in recent

weeks The Lincoln Project has bolstered its mobilization efforts in Hispanic communities, spent

nearly a million dollars in Texas and committed another million-dollar investment into its efforts

in the state. 6 A primary program engaged in by The Lincoln Project revolves around identifying

supporters eligible to vote by absentee mail ballot and providing support throughout that process.

        Through its leadership teams and field staff, The Lincoln Project has targeted voters it

has identified as Republicans or former Republicans who support their preferred candidates.

Because Texans must either vote in a party primary 7 or take an oath of affiliation 8 to join a

political party, and because that affiliation automatically expires at the end of every calendar

year, 9 it requires both substantial skill and expertise to identify and target voters. However, given

the background of its founders and an investment of resources in the state, The Lincoln Project

has been able to make high quality estimates for its voter engagement programs. Those estimates

in turn inform The Lincoln Project’s belief that Gov. Abbott’s October 1st Proclamation will




6
  Jeffers Jr., Gromer, Lincoln Project plans Texas offensive against Republican Donald Trump, steps up Hispanic
outreach, Dallas Morning News (Oct. 6, 2020, 5:30 AM), https://www.dallasnews.com/news/politics/2020/10/06
/lincoln-project-plans-texas-offensive-against-republican-donald-trump-steps-up-hispanic-outreach/ last visited
Oct. 6, 2020.
7
  Tex. Elec. Code Ann. § 162.003.
8
  Tex. Elec. Code Ann. §§ 162.006 and 162.007.
9
  Tex. Elec. Code Ann. § 162.010.

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directly and disproportionately burden the Republican and former Republican voters it has

targeted.

II.        Effect of the October 1st Proclamation on Conservative Voters

           The October 1st Proclamation limits the number of ballot drop boxes to which voters can

return absentee mail ballots to one per county. Because Republican and former Republican

voters tend to be older and live farther away from the city centers where the single ballot drop

boxes are located, it increases their burden to cast a ballot.

           The only voters affected by the October 1st Proclamation are those that both live in a

county with multiple ballot drop boxes and qualify for an absentee mail ballot. While the number

of counties that planned to have multiple ballot drop boxes is relatively small, those that do

represent some of the largest population centers in the state. Consequently, those counties also

contain a large percentage of the likely Republican voters targeted by The Lincoln Project. The

list includes Harris, Travis and Fort Bend Counties.

           Under Texas law, individuals eligible for an absentee ballot must be (1) away from their

county on Election Day and during early voting; (2) sick or disabled; (3) 65 years of age or older

on Election Day; or (4) confined in jail, but eligible to vote. 10 The Lincoln Project has identified

voters in the third category – age 65 or older – as a substantial number of its targeted, likely

Republican voters through its absentee mail ballot program.

           The Lincoln Project voter analysis combined both past party affiliation (voting in any of

the past three Republican primaries) and additional demographic data to determine that 169,511

likely Republican voters over the age of 65 live in Harris County. 11 Similarly, 36,955 live in



10
     Tex. Elec. Code Ann. §§ 82.001, 82.002, 82.003, 82.004.
11
     See Appendix I.


                                                     Page 6 of 17
Travis County 12 and 38,465 live in Fort Bend County. 13 While the raw numbers are smaller than

the number of likely Democratic voters in Harris and Travis Counties, the percentage of this

subset among total likely Republican is greater. Likely Republican voters 65 or older account for

28.6% of all likely Republican voters in Harris County. A similar subset among Democrats

equates to only 18.6% percent. In Travis County the disparity is even greater, 27.8% to 15.4%.

Fort Bend County is the closest of the three at 24.3% to 18.5%. In each case, the percentage of

the likely Republican voter universe over the age of 65, and consequently eligible to vote by

absentee ballot, far exceeds the percentage from likely Democrat voters.

           As important, the geographical distribution of likely Republican voters places them

farther away from the single ballot drop boxes. The drop boxes in Harris and Travis Counties are

located centrally in their respective largest cities, Houston and Austin. The Fort Bend County

drop box is centrally located in Rosenberg. But the distribution of likely Republican voters live

farther away from these locations than their Democratic counterparts. That means the likely

Republican voters The Lincoln Project hopes to engage carry a heavier burden to cast their

ballots.

           For example, likely Republican voters over the age of 65 living in Baytown, on the edge

of Harris County and across the bay from Houston, outnumber their Democratic counterparts

2,129 to 1,303. Similarly, in the southeast corner of the county, likely Republican voters over the

age of 65 outnumber similar Democrats in Pasadena by 4,353 to 2,407. This same pattern

generally plays out across the rest of the county as well as in Travis and Fort Bend Counties.

Likely Republican voters over the age of 65 live farther away from the one ballot drop box

remaining in each county following the October 1st Proclamation.


12
     See Appendix II.
13
     See Appendix III.

                                              Page 7 of 17
        Travelling to those locations is not the only challenge facing likely Republicans when

they arrive to cast their absentee mail ballot. By limiting the number of ballot drop box locations,

the October 1st Proclamation creates a wide variety of additional logistical challenges to likely

voters over the age of 65. For example, limiting Harris County to one ballot drop box creates a

bottleneck effect that may create the very crowds voters 65 and older hoped to avoid in the first

place. Because potentially large numbers of voters would need to use the single drop location,

during the busiest hours it is possible that enough people will be casting ballots to create a long

line at that one location. That would be counter-productive to the policies implemented to protect

a vulnerable group from the threat posed by COVID-19.

III.    Absentee Ballot Drop Boxes Do Not Present a Security Concern.

        The October 1st Proclamation specifically noted that “an amendment to the suspension of

the limitation on the in-person delivery of mail ballots, as made in the July 27, 2020

proclamation, is appropriate to add ballot security protocols.” This argument seems based on the

faulty conclusion that absentee mail ballots may pose a significant threat of voter fraud or

election tampering. That naked assertion has been refuted by The Lincoln Project and other

Republican legal luminaries and conservative think tanks.

        Less than a month ago, a leading Republican election law attorney and counsel to four of

the past six Republican presidential nominees declared, “the basic truth that four decades of

dedicated investigation have produced only isolated incidents of election fraud” in the

Washington Post. 14 He noted that the Heritage Foundation Election Fraud Database, a program




14
   Ginsberg, Benjamin L., Republicans have insufficient evidence to call elections ‘rigged’ and ‘fraudulent,’ The
Washington Post (Sep. 8, 2020, 4:12 PM) https://www.washingtonpost.com/opinions/2020/09/08/republicans-
have-insufficient-evidence-call-elections-rigged-fraudulent/ last visited Oct. 7, 2020.


                                                    Page 8 of 17
of the conservative think tank, “found just 372 possible cases of illegal voting of 14.6 million

cast in 2016 and 2018 general election – 0.000025 percent.” 15

        In Texas itself, the Heritage Foundation Election Fraud Database demonstrates how

exceedingly infrequent fraudulent use of absentee ballots occurs. From 2012 through 2019 a total

of eight instances of fraudulent use of absentee ballots were noted by the think tank. 16 The last

three years have seen only one conviction each year for such behavior.

        In light of this information, it is evident that absentee mail ballots, much less the

monitored and secure drop boxes used to collect them, do not present a current security concern

justifying limitation to one per county.

                                            CONCLUSION

        For the reasons argued above, The Lincoln Project respectfully urges this Court to rule in

favor of the declaratory and injunctive relief prayed for by the Plaintiffs.

Dated: October 7, 2020                           Respectfully submitted,

                                                 /s/ Mario Nicolais
                                                 Mario Nicolais 17
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                                                 Houston, TX 77081-2409
                                                 (713) 826-1954
                                                 allanvanfleet@gmail.com

15
   Id.
16
   The Heritage Foundation Election Database https://www.heritage.org/voterfraud/search?combine=&state=
TX&year=&case_type=All&fraud_type=24489 last visited Oct. 7, 2020.
17
   Pro hoc vice motion pending.

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                                     Certificate of Service

       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on October 7, 2020, and that all counsel of record were served by CM/ECF.


                                             /s/ Allan Van Fleet




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                                      Appendix I

                     The Lincoln Project Voter Analysis - Harris County

Total Voters
   • Total Likely Republicans: 592,230
   • Total Likely Democrats: 1,120,077
   • Total Estimated Republican Primary Voters (16,18, 20): 347,542
   • Total Estimated Democrat Primary Voters (16, 18, 20): 392,928

65+ Voters
   • 65+ voters who voted in 2016, 2018, 2020 Republican Primaries: 135,839
           o 39.1% of Harris County Republican Primary voters are 65+
   • 65+ - Likely Republican affiliated voters: 169,511
           o 28.6% of Harris County Likely Republican affiliated voters are 65+
   • 65+ voters who voted in 2016, 2018, 2020 Democrat Primaries: 116,562
           o 29.7% of Harris County Democratic Primary voters are 65+
   • 65+ - Likely Democrat affiliated voters: 207,895
           o 18.6% of Harris County Likely Democrat affiliated voters are 65+

COVID-19
  • Total COVID Cases in Harris: 143,350 infections
         o COVID Cases in the last week: 3,849
 Harris                    Est. 65+ Republican Primary     Est. 65+ Democrat Primary
 City/Municipality         Voters (‘16, ‘18, ‘20)          Voters (‘16, ‘18, ‘20)

 Baytown City              2,129                           1,303

 Bellaire City             1,202                           894

 Bunkerhill Village City   436                             148

 Deer Park City            2,205                           603

 El Lago City              281                             109

 Friendswood City          526                             243

 Galena Park City          103                             339

 Hedwig Village City       218                             76

 Hilshire Village City     98                              49

 Houston City              55,203                          69,510

 Humble City               520                             317


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Hunters Creek City      520                      172

Jacinto City            69                       297

Jersey Village City     860                      305

Katy City               818                      211

La Porte City           1,558                    698

Missouri City           78                       376

Morgans Point City      43                       11

Nassau Bay City         496                      213

Pasadena City           4,353                    2,407

Pearland City           901                      330

Piney Point City        486                      143

Seabrook City           691                      265

Shoreacres City         127                      30

South Houston City      155                      304

Southside Place City    117                      106

Spring Valley City      387                      153

Stafford City           12                       4

Taylor Lake Village     476                      215
City

Tomball City            858                      182

Waller City             21                       6

Webster City            292                      167

West University Place   1,279                    1,058
City

*Unknown City within    58,321                   35,318
Harris




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                                       Appendix II

                      The Lincoln Project Voter Analysis – Travis County

Total Voters
   • Total Likely Republicans: 132,737
   • Total Likely Democrats: 415,535
   • Total Estimated Republican Primary Voters (16,18, 20): 96,150
   • Total Estimated Democrat Primary Voters (16, 18, 20): 237,572

65+ Voters
   • 65+ voters who voted in 2016, 2018, 2020 Republican Primaries: 33,425
           o 34.8% of Travis County Republican Primary Voters are 65+
   • 65+ - Likely Republican affiliated voters: 36,955
           o 27.8% of Travis County Likely Republican affiliated voters are 65+
   • 65+ voters who voted in 2016, 2018, 2020 Democrat Primaries: 46,062
           o 14.1% of Travis County Democratic Primary Voters are 65+
   • 65+ - Likely Democrat affiliated voters: 64,107
           o 15.4% of Travis County Likely Democrat affiliated voters are 65+

COVID-19
  • Total COVID Cases in Travis: 29,576 infections
         o COVID Cases in the last week: 672


 Travis                     Est. 65+ Republican Primary     Est. 65+ Democrat Primary
 City/Municipality          Voters (‘16, ‘18, ‘20)          Voters (‘16, ‘18, ‘20)

 Austin City                18,622                          33,522

 Cedar Park City            268                             151

 Creedmoor City             14                              7

 Elgin City                 13                              34

 Jonestown City             181                             114

 Lago Vista City            923                             457

 Lakeway City               2,101                           1,113

 Manor City                 83                              198

 Pflugerville City          1,437                           1,767

 Round Rock City            13                              13

 Sunset Valley City         63                              76

                                         Page 13 of 17
*Unknown City within   9,707                   8,610
Travis




                               Page 14 of 17
                                     Appendix III
                  The Lincoln Project Voter Analysis – Fort Bend County


Total Voters
   • Total Likely Republicans: 158,050
   • Total Likely Democrats: 197,657
   • Total Estimated Republican Primary Voters (16,18, 20): 85,770
   • Total Estimated Democrat Primary Voters (16, 18, 20): 83,687


65+ Voters
   • 65+ voters who voted in 2016, 2018, 2020 Republican Primaries: 29,609
           o 34.5% of Fort Bend Republican Primary voters are 65+
   • 65+ - Likely Republican affiliated voters: 38,465
           o 24.3% of Fort Bend County Likely Republican affiliated voters are 65+
   • 65+ voters who voted in 2016, 2018, 2020 Democrat Primaries: 22,947
           o 27.4% of Fort Bend Democratic Primary voters are 65+
   • 65+ - Likely Democrat affiliated voters: 36,521
           o 18.5% of Fort Bend County Likely Democrat affiliated voters are 65+

COVID-19
  • Total COVID Cases in Fort Bend: 16,494 infections
         o COVID Cases in the last week: 392


 Fort Bend                  Est. 65+ Republican Primary      Est. 65+ Democrat Primary
 City/Municipality          Voters (‘16, ‘18, ‘20)           Voters (‘16, ‘18, ‘20)

 Arcola City                18                               38

 Beasley City               31                               10

 Fulshear City              476                              173

 Houston City               201                              2,647

 Katy City                  151                              54

 Meadows Place City         437                              238

 Missouri City              2,833                            4,183

 Needville City             178                              70

 Orchard City               28                               4

 Pearland City              101                              235

                                        Page 15 of 17
Richmond City          557                      295

Rosenberg City         1,160                    878

Simonton City          76                       8

Stafford City          456                      497

Sugarland              7,561                    4,009

Weston Lakes City      648                      158

*Unknown City within   14,696                   9,401
Fort Bend




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